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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF CONNECTICUT


                                                   )
   FRANK D’AGOSTINO, on behalf of                  )     No. 3:07-cv-00161 (CFD)
   himself and all others similarly situated,      )
                                                   )
                                Plaintiff,         )
                                                   )     FINAL JUDGMENT AND ORDER
            v.                                     )     OF DISMISSAL WITH
                                                   )     PREJUDICE
   WFS FINANCIAL, INC.,                            )
                                                   )
                                Defendant.         )
                                                   )


       This matter comes before the Court to determine whether there is any reason why this

Court should not approve the settlement set forth in the Settlement Agreement (“Settlement” or

“Settlement Agreement”), made as of September 25, 2008, relating to the above-captioned case

between Plaintiff and Class Representative, Frank D’Agostino, on behalf of himself and the class

he represents (“Plaintiff” or “Mr. D’Agostino”), on the one hand, and defendant WFS Financial

Inc, now known as Wachovia Dealer Services, Inc. (“Defendant” or “WFS”), on the other hand.

Pursuant to an Order Concerning Class Certification, Notice, Scheduling, and Preliminary

Approval, dated October 14, 2008 (“Preliminary Approval Order”), the Court scheduled a

hearing (“Fairness Hearing”) to consider the approval of the Settlement Agreement and the

settlement reflected therein.
       The Court, after consideration of the briefs and arguments of counsel, and otherwise

being fully informed, has determined that: (1) the Settlement Agreement is the product of good-

faith negotiations by Plaintiff and Defendant, each of whom was represented by experienced

counsel; (2) the Settlement Agreement should be approved; (3) objections to the Settlement

Agreement, if any, have been considered and are overruled; and (4) there is no just reason for

delay of the entry of the Final Judgment. Accordingly, the Court directs entry of Judgment

which shall constitute a final adjudication of the class action.

       Good cause appearing therefore,
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         IT IS HEREBY ORDERED THAT:

         1.     For purposes of this Order, except as set forth herein, the Court adopts and

incorporates the definitions in the Settlement Agreement.

         2.     The Court hereby finds that mailing of the Notice of Class Action Settlement, in the

manner provided in the Preliminary Approval Order, fully and accurately informed all

Settlement Class members of all material elements of the proposed settlement, constitutes the

best notice practicable under the circumstances, constitutes valid, due and sufficient notice to all

Settlement Class members and complies fully with the requirements of state and federal law.

         3.     The Court hereby fully approves the Settlement as set forth in the Settlement

Agreement as fair, reasonable and adequate in all respects under all other applicable law and

orders Plaintiff and Defendant to consummate the Settlement Agreement in accordance with its

terms.

         4.     The Court hereby decrees that the Settlement Class consists of:

                  Individuals: (a) who were retail buyers of motor vehicles that
                  were purchased pursuant to a retail installment contract or
                  installment loan contract executed in the State of Connecticut and
                  subsequently held by WFS; (b) whose motor vehicles were
                  subsequently repossessed and sold by WFS between January 4,
                  2004 and July 1, 2008; (c) as to whom the net proceeds of the sale
                  were insufficient to cover the balance due under the retail
                  installment contract or installment loan contract; (d) whose
                  accounts WFS credited with the actual sales proceeds (as opposed
                  to the fair market value of the motor vehicle); and (e) who were
                  not parties to any legal action brought by or against WFS in which
                  judgment was entered prior to June 17, 2008.

                In accordance with the terms of the Settlement Agreement, WFS shall provide the
         5.

following relief to Settlement Class members: WFS shall release each Settlement Class member

from any obligation to pay any deficiency that was or is claimed by WFS after the repossession

and sale of the motor vehicles at issue. WFS shall file all papers necessary to withdraw or

dismiss pending legal proceedings (if any) seeking Deficiency Judgments against Class




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members. If a Deficiency Judgment was entered by a court on or after June 17, 2008, then WFS

will file a satisfaction of judgment with the court. WFS shall request that Equifax, Experian and

TransUnion delete from Settlement Class members’ credit reports the tradelines associated with

the loans implicated by this litigation.


       6.      In accordance with the terms of the Settlement Agreement, WFS shall also make a

monetary payment to certain Settlement Class members that fall within the definition of two

subclasses. The first subclass (“Subclass A”) consists of Settlement Class members who,

according to WFS’s records, were not mailed notices of the repossession of their vehicles within

three days of repossession. Settlement Class members who are also in Subclass A will receive a

cash payment of $215.00. The second subclass (“Subclass B”) consists of Settlement Class

members who, according to WFS’s records, were not mailed notices of the date after which their

vehicles could be sold at least ten days prior to that date. Settlement Class members who are

also in Subclass B will receive a cash payment of $575.00. Settlement Class members who fall

within both Subclass A and Subclass B will receive only the Subclass B payment. Settlement

Class members who do not fall within either Subclass A or Subclass B will not receive a cash

payment.

       7.      The Court approves an incentive fee award to Mr. D’Agostino, as Class

Representative, in the amount of $2,000, which WFS shall pay. All objections, if any, to Mr.

D’Agostino’s incentive fee award have been considered and overruled.

       8.      The Court approves an award of attorney’s fees and costs to Class Counsel, Daniel

S. Blinn of the Consumer Law Group, LLC, in the amount of $80,000, which WFS shall pay.

All objections, if any, to Class Counsel’s request for approval of attorney’s fees and costs have

been considered and overruled.

       9.      No Settlement Class member submitted a valid and timely request for exclusion

pursuant to the Preliminary Approval Order, and no Settlement Class member is excluded from

the Settlement Class.



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       10. No Settlement Class member objected to the Settlement.

       11. If the Effective Date, as defined in the Settlement Agreement, does not occur for

any reason whatsoever, this Final Judgment and Order of Dismissal and the Preliminary

Approval Order shall be deemed vacated and shall have no force and effect. The Court hereby

decrees that neither this Final Judgment nor the Settlement Agreement shall constitute an

admission by WFS of any liability or wrongdoing whatsoever.

       12. The Court hereby dismisses, on the merits and with prejudice, all causes of action

against WFS filed in the above-captioned action.

       13. The Court hereby decrees that all members of the Settlement Class are conclusively

deemed to have released and forever discharged Released Parties from all Released Claims, and

forever enjoins and bars all Settlement Class members from asserting, instituting or prosecuting

any Released Claim in any court, tribunal or governmental agency.

       14. Without affecting the finality of this Final Judgment, the Court hereby reserves

exclusive and continuing jurisdiction over this action, the Class Representative, Settlement Class

members, Class Counsel, WFS and its counsel, for the purpose of, among other things,

supervising the implementation, enforcement, construction and interpretation of the Settlement

Agreement, the Preliminary Approval Order and this Final Judgment.




Dated: January 30, 2009                             /s/ Christopher F. Droney
                                                    The Honorable Christopher F. Droney
                                                    United States District Judge




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